                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

Carsten Quinlan, et al.,
                                                     Case No. 24-cv-2782 (PAM/ECW)
                     Plaintiffs,

v.

Washington County, City of Woodbury,
Kim Richardson, Hailey Dornfeld,
Keshini Ratnayake, Tom Wedes,                   WORD COUNT CERTIFICATE
Mathew Stephenson, Chris Murphy,
and Unknown John/Jane Doe(s),

                    Defendants.


       I hereby certify that Defendants’ Memorandum in Support of Motions for More

Definite Statement and/or to Strike Plaintiff’s Amended Complaint conforms to the

requirements of Local Rule 7.1(c). Defendants’ Memorandum contains 5,051 words and

the word processing program has been applied specifically to include all text, including

headings, footnotes and quotations. The name and version of the word processing software

used to prepare the memorandum is Microsoft Office 365.

                                           JARDINE, LOGAN & O’BRIEN P.L.L.P.

Dated: July 19, 2024
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                                            and Kim Richardson
